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                       Exhibit A
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                       Date      of    Filing:
                                                                                                                                    Index         #:


                                                                                                                                                       Plaintiff            designates

                                                                                                                                                       Orange.County
                                                                                                                                                       as the        place         of     trial.


                                                                                                                                                       The         basis      of the              venue           is
                                                                                                                                                       the     county             in which                a substantial                part
                                                                                                                                                       of    the      events            or omissions                     giving        rise
                                                                                                                                                       to the        claim             occurred             per        CPLR
                                                                                                                                                       section            503.


                       SUPREME                   COURT            OF THE                STATE            OF     NEW YORK
                       COUNTY               OF ORANGE
                       ____________....__..--------.-                                     ---------------------X
                       ANTHONY                   HEINE,
                                                                                                     Plaintiff,                                                           SUMMONS

                                      -against-



                       DANIEL             BENJAMIN                     LAWSON                  and       FEDEX
                       FREIGHT              INC.,
                                                                                                     Defendants.
                       _______ -                    .......__----------.......----------------X

                       To     the     above-named                defendant(s):



                  .                   YOU ARE               HEREBY                  SUMMONED,                          to answer            the    complaint                     in this           action          and    to serve
                       a copy         of your       answer,            or,   if the       complaint                 is not    served        with            this     summoñs,                     to serve             a notice        of

                                                 on the     plaintiff's             attorneys             within        - 20-       days     after           the     service            of        this
                       appearance,                                                                                                                                                                         summons,
                       exclusive          of the      day        of    service          (or     within         30     days    after        the    service                is complete                 if    this        summons              is
                       not     personally           delivered            to you          within          the    State        of New         York);             and        in case            of     your      failure          to
                       appear         or answer,          judgment               will         be taken         against        you      by    default               for     the     relief           demanded                  in the
                       complaint.
                                                                                                                                                       SOBO               &      SOBO,               LLP




                                                                                                                                                       MiCHAEL                     D.        WOLFF,                    ESQ.
                                                                                                                                                       Attorneys                 for     Plaintiff
                                                                                                                                                       One         Dolson              Avenue

                                                                                                                                                       Middletown,                      NY           10940

                                                                                                                                                       (845)         343-0466
                       Dated:         November             25,        2020

                                      Middletown,                New         York


                       Defendants'
                                                 addresses:             See      Complaint




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                                                                                                               Bk: 5143         7      Pg: 80                      Index:     # EF007087-2020                                 Clerk:    EBR
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         SUPREME                    COURT            OF THE                   STATE             OF         NEW YORK
         COUNTY                OF ORANGE
         ---------------------------------------------------X
         ANTHONY                     HEINE,


                                                                             Plaintift                                                                         VERIFIED                    COMPLAINT

                             -against-

                                                                                                                                                               Index       No.:
         DANIEL               BENJAMIN                    LAWSON                       and      FEDEX
         FREIGHT                INC.


                                                                             Defendants.
         --                             --------------------------------X



                        Plaintiff,          ANTHONY                          HEINE,              by        his     attorneys,           SOBO               &   SOBO,           L.L.P.,          as and            for   the


         Verified            Complaint,              herein         allege           the     following:


                        1.              That      at all          times          hereinafter                 mentioned,                the     plaintiff           was   and       still      is a resident              of


         the    County          of     Dutchess,                State        of New           York..


                        2.              That         at     all         times            hereinafter                      mentioned,              upon         information                  and         belief,         the



         defendant,              DANIEL                BENJAMIN                            LAWSON,                         was    and         still     .is    a    resident         of       the       County           of



         Baltimore,             State      of    Maryland.



                        3.              That      at all         times          hereinafter                 mentioned,             upon          information             and      belief,         the



         defendañt,             FEDEX            FREIGHT                      INC,         was        and        still      is a domestic              corporation             organized             and



         existing         under         and     by     virtue           of     the       Laws         of    the          State   of New           York.



                        4.              That      at all         times          hereinafter                 mentioned,             upon          information             and      belief,         the



         dcfcñdant,             FEDEX            FREIGHT                       INC.,         was       and        still     is a foreign              corporation          organized                and     existing


         under       and       by    virtue       of      the     laws          of the        State         of     Indiana.


                        5.              That      at all         times          hereinafter                 mentioned,             upon          information             and      belief,         the



         defendant,             FEDEX            FREIGHT                       INC.,         engaged              in interstate              transportation              and/or            interstate



         commerce.




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                                                                                                                     F




                      6.            That        at all    times       hereinafter         mentioned,                     upon      information                 and    belief,       the



         defendant,         FEDEX           FREIGHT                 INC.,     was    the     titled           owner         of     a 2014          Kenworth              Tractor          Truck,



         bearing       License          Plate      #2961107,            for   the   State         of    Indiana.


                      7.            That        at all    times       hereinafter         mentioned,                     upon      information                 and    belief,       the



         defendant,         FEDEX           FREIGHT1NC.,                      was    the     registered                   owner       of       a 2014          Kenworth            Tractor



         Truck,       bearing       License           Plate       #2961107,         for     the        State        of    Indiana.


                      8.            That        at all    times       hereinafter         mentioned,                     upon      information                 and    belief,       the



         defendant,         DANIEL               BENJAMIN                   LAWSON,               was         the    operator             of    the    aforesaid          2014       Kenworth


         Tractor       Truck,       bearing           License         Plate   #2961107,                 for    the        State      of    Indiana.


                      9.            That        at all    times       hereinafter         mentioned,                     upon      information                 and     belief,      the



         defendant,         DANIEL               BENJAMIN                   LAWSON,               was         employed              by     defendant,             FEDEX             FREIGHT


         INC.,     and      was     operating            the    aforementioned               2014             Kenworth              Tractor            Truck         in the      course      of    his


         employment               and    with      permission            of the     defendant                 owner         FEDEX                FREIGHT                INC.


                      10.           That        at all    times       hereinafter         mentioned,                     upon      information                 and    belief,       the


         defendant          DANIEL               BENJÃMIN                   LAWSON,               was         employed                     defeñdâñt,                FEDEX          FREIGHT
                                                                                                                                    by


                   and      managed             the      aforem=±in            ed 2014            Kenworth                 Tractor             Truck      in    the     course       of    his
         INC.,


         employment               and    with      permission            of   the   defendant                 owner         FEDEX                FREIGHT                INC.


                      11.           That        at all    times       hereinafter         mentioned,                     upon      information                 and     belief,      the



         defendant,         DANIEL               BENJAMIN                   LAWSON,               was         employed              by     defendant,                FEDEX          FREIGHT


         INC.,     and      maintained             the     aforementioned             2014             Kenworth                 Tractor          Truck         in the     course          of his


         empicyment               and    with      permission            of   the   defendant                 owner         FEDEX                FREIGHT                INC.



,                     12.           That        at all    times       hereinafter         mentioned,                     upon      information                 and    belief,       the



         defendant,         DANIEL               BENJAMIN                   LAWSON,               was         employed              by     defendant,                FEDEX          FREIGHT




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         INC.,        and         controlled              the        aforementioned                           2014          Kenworth                   Tractor           Truck             in    the      course           of his



         employmeñt                   and         with         permission                  of      the     defendant                  owner             FEDEX                FREIGHT                     INC.



                           13.             That          at all        times        herciñafter                    mentioned,                    Interstate              84        1.5     miles          East      of      Exit        28        in



         Montgomery                    New             York,          was         and      still        is a public                 highway              and       thoroughfare                        and      was        the        situs        of


         the       accident           herein.


                           14.              That         at all        times        hereinafter                    mentioned,                    the     plaintiff             was         lawfully               a pedestrian


         upon        the      aforesaid                situs.



                           15.              That         on     or about                May         23,        2020,         the      aforementioned                           truck            driven        by      Defendant


         DANIEL                  BENJAMIN                       LÃWSON                     and           owned           by         defendant                FEDEX                 FREIGHT                   INC.,             was      in


         contact           with       the       plaintiff,             ANTHONY                           M.      HEINE,               a pedestrian.


                           16.              The        contact             and      injuries              alleged             herein             were        caused            by        the.negligent,                   wañtoñ,


         reckless            and      careless                acts     of the           defendants                    herein.


                           17.            That         the      defendants                 were           negligent,                 wanton,              reckless              and        camless              in allowing,



         causing            and/or          permitting                    the      truck           owned              and       operated                by      said         defeñdañts                  herein           to        come          into


         contact            with          the      plaintiff,               a pedestrian;                        in     failing             to     take         those           steps            necessary                to        avoid           the



         contingency                  which            herein             occurred;                in    failing          to keep                the    truck        under           proper              control;              in    failing            to


         operate            the     truck         in     a maññct                 and         at a speed                that        was          reasonable                  and     proper              under           the        prevailing


         traffic           conditions;                   in     failing            to      properly                   keep          and          maintain                the        truck          so        as     to         prevent              the



         contingency                  which              herein            occurred;                in        failing          to     properly               operate               the     braking                and       acceleration


         devies             of      the     truck             under          the        circumstances                          of     the        roadway                where              the         accident            occurred;                    in



         failing           to keep          a proper                 lookout;            in     failing            to    stop         and/or            slow                          in    violating               the         rules        of     the
                                                                                                                                                                    down;


                      in    failing          to    obey             one      or    more            traffic            control          device(s);                  in    failing            to     observe               that        degree             of
         road;


         caution,                prudence                     and         care          which                  was          reasonable                       and         proper                  under             the          coñtrolling


         circumstancas;                      in     acting            with         reckless               disregard                 for     the        safety           of     others;            in     failing          to        keep          alert




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                                                                                                                                                                                                                                                its'
         and       attentive;                in      failing             to        properly                 train          their          employees;                     in         the       ñêgligent                hiring         of


                                                                                                                          its'
                                       in    the          negligent                - ratention                of                       employees;                     under           the                         of      Respondent
         employees;                                                                                                                                                                                theory


         Superior;           in        failing            to     observe                that        degree           of      caution,                prudence              and        care            which       was       reasonable


         and    proper            under            the      controlling                   circumstances;                          in acting               with        recldess              disregard            for     the      safety          of



         others;       in    failing                to     keep         alert           and         attentive;               and         the         defendants               were            in      other      ways           negligent,


         wanton,         reckless                 and          careless.


                       18.                  That          the        defendants,                    and     each          of them,                  are    liable       to the            plaintiff           upon       the     doctrine


         of res      ipsa       loquitur.


                       19.                  The          limited            liability           provisions                   of    CPLR               §1601            do not         apply            pursuañt           to the


         exceptions               of        CPLR           §1602             (6)    and         (7).


                       20.                  That          by     reason            of     the        foregoing,                  the     plaintiff              was     caused               to sustaiñ           severe          and


         serious       personal                   injuries            to his        mind             and     body,               some          of     which,           upon          information                 and      belief,          are


         permanent              with          permanent                     effects            of    pain,          disability,                disfigurement                     and         loss       of    body       fùñction.



         Further,        this          plaintiff               was      caused            to expend                  and          become              obligated               for     diverse            sums          of money                 for


         the    purpose            of       obtaining                 medical              care        and/or             cure          in an effort                to alleviate                the      suffering              and      ills


         sustained           as a result                  of this                                    this     plaintiff                further            was       eãüsed           to lose            whetantial               periods
                                                                            accident;


         of time       from            her        normal              vocation,                and        upon        information                         and    belief,         may           continue           in that         way


         into    the    future              and      suffer            similar            losses.



                                       Furthermore,                     this       plaintiff              sustained                a serious                injury,        as defined                   in the       Insurance


         Law       Section              5102(d)                for    the      State           ofNew             York.


                       21.                  That          by     reason            of     the        foregoing,                  this     plaintiff              has    been          damaged                 in a sum            that


         exceeds         the jurisdictional                             limits           of    all     lower          courts             which             would         otherwise                    have     jurisdiction                of


         this   matter.




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                         WHEREFORE,                      plaintiff         demands            judgment           against      the     defendant=,             and    each      of them,      as


         follows:


                        A     sum       that     exceeds          the     jurisdictional           limits        of    all    lower      courts          which       would       otherwise


         have       jurisdiction           in this      matter,          together          with   the    costs        and    disbursements               of   this   action.




         DATEDi               November            25,     2020

                              Middletown,            New          York




                                                                                                                              MICHAEL               D.
                                                                                                                                                     WOLFF,                  ESQ.
                                                                                                                              SOBO        &    SOBO,   LLP
                                                                                                                             Attorneys         for       Plaintiff
                                                                                                                              One     Dolson         Avenue

                                                                                                                             Middletown,             NY          10940

                                                                                                                              (845)     343-7626


        TO:             DANIEL             BENJAMIN                   LAWSON
                        201     Oak       Ave

                        Pikesville,            MD    212080


                        FEDEX            FREIGHT              INC.,
                        2306       N.    Baker       Road

                        Fremont,          IN     46737




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                                                                             VERIFICATION


            STATE           OF    NEW           YORK,            COUNTY            OF     ORANGE                             ss:




            ANTHONY                  HEINE,              being       duly     sworn        says;         I   am        one    of       the    plaintiffs           in     the    action

            herein;     I have           read      the     annexed          Verified           Complaint,              know        the       contents           thereof         and    the

            same      are    true        to     my       knowledge,            except          those         matters         therein          which         are        stated     to      be

            alleged     on       information              and    belief,     and       as to     those       matters         I believe          them       to     be    true.




                                                                                                                        ANTHONY                   HEINE




            Sworn      to    b    fore        me   on     this

                                      c2                    , 2020




            NOTARY               PUBL

                       CAROLE       SMITH
                     Public,    State Of New York
            Notary
                     No. 01SM6093616
               Qualified     In Orange    County
             Commission        Expires   June 2, 20
       My




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